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 1
                              UNITED STATES DISTRICT COURT
 2
                                       DISTRICT OF NEVADA
 3

 4
     UNITED STATES OF AMERICA,
 5
            Plaintiff,                                  Case No. 2:07-CR-00145-KJD-PAL
 6
     v.                                                 ORDER
 7
     KORY ALLEN CROSSMAN,
 8
            Defendant.
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10
            Presently before the Court is Defendant’s Motion for a Sentence Reduction pursuant to
11
     Amendment 782 of 18 U.S.C. § 3582(c)(2) (#1492). Although the Court finds that Defendant is
12
     eligible for a sentence reduction pursuant to § 3582(c)(2), Amendment 782, and U.S.S.S.G. §
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     1B1.10, effective November 1, 2014, Defendant’s serious acts of misconduct while in custody -
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     including one for which he is currently under federal indictment in the Eastern District of Texas -
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     suggest that his release could present a threat to public safety. Therefore, the Court denies
16
     Defendant’s motion for a sentence reduction.
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            Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion for a Sentence
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     Reduction under Amendment 782 of 18 U.S.C. § 3582(c)(2) (#1492) is DENIED.
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            DATED this 11th day of May 2016.
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24                                                 Kent J. Dawson
                                                   United States District Judge
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